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                               EXHIBIT 1
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   1   CENTER FOR HUMAN RIGHTS & CONSTITUTIONAL LAW
   2   Carlos R. Holguín (Cal. Bar No. 90754)
       256 South Occidental Boulevard
   3   Los Angeles, CA 90057
   4   Telephone: (213) 388-8693
       Email: crholguin@centerforhumanrights.email
   5
       Attorneys for Plaintiffs
   6   (Additional counsel listed on next page)
   7
   8                          UNITED STATES DISTRICT COURT
   9                        CENTRAL DISTRICT OF CALIFORNIA
  10                                   WESTERN DIVISION
  11
  12   JENNY LISETTE FLORES, et al.,              No. CV 85-4544-DMG-AGRx
  13
             Plaintiffs,                          [PROPOSED] STIPULATED SETTLEMENT OF
  14                                              PLAINTIFFS’ MOTION TO ENFORCE
       v.                                         SETTLEMENT RE EMERGENCY INTAKE
  15
                                                  SITES
       MERRICK GARLAND, Attorney General
  16
       the United States, et al.,
  17
  18         Defendants.
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   1   NATIONAL CENTER FOR YOUTH LAW
       Neha Desai (Cal. RLSA No. 803161)
   2   Mishan Wroe (Cal. Bar No. 299296)
   3   Melissa Adamson (Cal. Bar No. 319201)
       Diane de Gramont (Cal. Bar No. 324360)
   4   1212 Broadway, Suite 600, Oakland, CA 94612
   5   Telephone: (510) 835-8098
       Email: ndesai@youthlaw.org
   6
   7   CHILDREN’S RIGHTS
       Leecia Welch (Cal. Bar No. 208741)
   8   88 Pine Street, Suite 800, New York, NY 10005
   9   Telephone: (212) 683-2210
       Email: lwelch@childrensrights.org
  10
  11   Attorneys for Plaintiffs

  12   BRIAN BOYNTON
  13   Acting Assistant Attorney General
       Civil Division
  14
  15   WILLIAM C. PEACHEY
       Director, District Court Section
  16   Office of Immigration Litigation
  17
       WILLIAM C. SILVIS
  18   Assistant Director, District Court Section
  19   Office of Immigration Litigation
  20   SARAH B. FABIAN
  21   Senior Litigation Counsel
       FIZZA BATOOL
  22   Trial Attorney
  23   Office of Immigration Litigation
       District Court Section
  24
       P.O. Box 868, Ben Franklin Station
  25   Washington, D.C. 20044
       Tel: (202) 532-4824
  26
       Fax: (202) 305-7000
  27   Email: sarah.b.fabian@usdoj.gov
  28
       Attorneys for Defendants
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   1                                       PREAMBLE
   2         WHEREAS the original complaint in this action was filed on July 11, 1985,
   3   and on January 28, 1997, the Court approved a class-wide settlement of this action
   4   pursuant to Fed. R. Civ. P. 23 (“Settlement”);
   5         WHEREAS the Settlement requires Defendants to place class members “in the
   6   least restrictive setting appropriate to the minor’s age and special needs, provided
   7   that such setting is consistent with [Defendants’] interests to ensure the minor’s
   8   timely appearance before the INS and the immigration courts and to protect the
   9   minor’s well-being and that of others.” Settlement ¶ 11;
  10         WHEREAS the Settlement requires that, following arrest, Defendants must
  11   hold class members “in facilities that are safe and sanitary and that are consistent
  12   with [Defendants’] concern for the particular vulnerability of minors.” Settlement
  13   ¶ 12.A.;
  14         WHEREAS the Settlement requires that class members generally be
  15   transferred to a state-licensed program within three days of apprehension or, in the
  16   case of an emergency or influx, “as expeditiously as possible.” Settlement ¶ 12.A.;
  17         WHEREAS the Settlement requires that Defendants release class members
  18   from their custody “without unnecessary delay” and “make and record the prompt
  19   and continuous efforts on [Defendants’] part toward family reunification and the
  20   release of the minor.” Settlement ¶¶ 14, 18;
  21         WHEREAS on August 9, 2021, Plaintiffs filed a Motion to Enforce the
  22   Settlement regarding Emergency Intake Sites (EIS) [Doc. # 1161] alleging
  23   violations of Paragraphs 11, 12, 14, and 18 of the Settlement;
  24         WHEREAS the Parties agreed to engage in mediation discussions before
  25   Independent Monitor Andrea Sheridan Ordin to attempt to resolve the Plaintiffs’
  26   motion;
  27         WHEREAS the Parties have conducted extensive discussions and negotiations
  28   in good faith over the last eight months with respect to a compromise and

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   1   resolution of Plaintiffs’ motion, with a view to settling the alleged violations and
   2   achieving the most effective relief possible consistent with the interests of the
   3   Parties;
   4         WHEREAS the Parties further recognize that during the course of their
   5   discussions and negotiations, certain states, such as Texas and Florida, have taken
   6   action to abruptly de-license ORR’s grantee childcare providers, such that ORR’s
   7   childcare facilities in those states no longer have access to state-issued licenses;1
   8         WHEREAS the Parties agree that, consistent with the Settlement, children in
   9   Defendants’ custody should be placed in state-licensed childcare facilities, as
  10   expeditiously as possible;
  11         WHEREAS the Parties agree that children should not be placed in large-scale,
  12   unlicensed congregate care settings unless there is no viable alternative and that
  13   Emergency Intake Sites (EISs) should therefore be used only as a last resort to
  14   prevent children from spending prolonged periods of time in the custody of U.S.
  15   Customs and Border Protection (CBP);
  16         WHEREAS the Parties agree that particularly vulnerable children, including
  17   children 12 years old and younger and children with special needs, should receive
  18   priority for licensed placement and should not be placed in an EIS unless no
  19   licensed beds are available, and the only alternative is for the child to remain in
  20   CBP custody for an indeterminate period of time;
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  22   1
         For the purposes of this Agreement, the descriptor “licensed” used throughout this
  23   document (e.g., licensed placements, licensed facility, licensed beds, licensed
  24   program, licensed bed capacity) refers to both ORR’s state-licensed childcare
       facilities, facilities that have been de-licensed solely by reason of a state action
  25   discontinuing licensing of ORR care providers in that state (e.g., Florida and
  26   Texas), as well as any new facilities that are recruited into the ORR network
       through any current or future Notices of Funding Opportunity and do not have
  27   licenses solely by reason of a state action disallowing licensing of ORR care
  28   providers in that state. The parties reserve all claims and defenses with respect to
       whether such facilities are permissible under the Settlement.

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   1         WHEREAS the Office of Refugee Resettlement (ORR) is committed to using
   2   its existing licensed placements to the greatest extent possible and to expanding the
   3   number of licensed beds available in its network;
   4         WHEREAS ORR issued a Notice of Funding Opportunity for new licensed
   5   bed providers on December 9, 2021, in order to increase its total capacity of
   6   licensed placements;
   7         WHEREAS contested litigation regarding EISs would be complex, lengthy
   8   and costly to all parties concerned, with the final outcome uncertain;
   9         WHEREAS the Parties have concluded that the terms and conditions of this
  10   Agreement are fair, reasonable, and in the best interests of the Plaintiff class
  11   members;
  12         WHEREAS this Agreement, while it is in force, lays out the entirety of ORR’s
  13   obligations under the Settlement with respect to (1) case management at EISs, (2)
  14   placement of children in EISs, (3) particularly vulnerable children placed at EISs,
  15   and (4) EIS standards;
  16         WHEREAS Plaintiffs agree to withdraw with prejudice their pending Motion
  17   to Enforce [Doc. # 1161];
  18         WHEREAS Plaintiffs reserve their right to seek fees and costs associated with
  19   their Motion to Enforce [Doc. # 1161], and the Parties agree to meet and confer in
  20   a good faith effort to settle such fees and costs;
  21         NOW, THEREFORE, the Parties stipulate that this Agreement constitutes a full
  22   and complete resolution of the issues raised in the Motion to Enforce regarding
  23   Emergency Intake Sites [Doc. # 1161] and the Parties agree that, while this
  24   Agreement is in force, any future alleged violations of the Flores Settlement
  25   arising out of (1) case management at EISs, (2) placement of children in EISs, (3)
  26   particularly vulnerable children placed at EISs, and (4) EIS standards will be
  27   resolved in accordance with this Agreement and its enforcement provisions.
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   1   I.      CASE MANAGEMENT
   2        A. Within 30 days of this settlement, ORR shall develop a contingency plan to
   3           establish fully operational case management services as quickly as possible
   4           after opening an EIS and issue written guidance requiring that:
   5                    i. Within 30 days of operation or expansion 2, each EIS must have
   6                       a case manager to child ratio of at least 1:8.
   7                    ii. Within 30 days of operation or expansion, each EIS must
   8                       establish procedures such that an initial assessment by a case
   9                       manager is completed within 24 hours of the child’s admission
  10                       to the facility, to include commencing identification of potential
  11                       sponsors. Modification of this 24-hour deadline may be
  12                       necessary to accommodate a child’s emergency needs (i.e.,
  13                       hospitalization). All other assessments will follow the ORR
  14                       Policy Guide and Field Guidance designed to expedite release as
  15                       issued (i.e., Field Guidance #10 Expedited Release for Eligible
  16                       Category 1 Cases and Field Guidance #16 Clarification that
  17                       Individual Service Plan and UC Case Review Are Not Generally
  18                       Required for Unaccompanied Children Placed at Emergency
  19                       Intake Sites (EIS)).
  20
  21
       2
  22     It is Defendants’ position that EISs may need to be expanded to prevent prolonged
       stays in CBP facilities. Nothing in this Agreement shall preclude ORR from
  23   expanding the capacity of an existing EIS in order to accommodate a substantial
  24   increase in UC referrals, in which case ORR shall be permitted the grace periods
       herein accorded to new EISs to come into compliance with the standards for the
  25   care and treatment of UCs provided in this Agreement. As used herein, an
  26   “expansion” of an existing EIS shall occur upon the addition of 150 beds or more to
       an EIS’s existing capacity as specified in the facility’s most recent contract or other
  27   operating agreement. An EIS’s expansion shall not result in the reduction of already
  28   existing services at the EIS, but rather may result in a delay of expanding those
       services to meet the needs of the increased population of UCs at the EIS.

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   1                iii. Within 30 days of operation or expansion, each EIS must
   2                    establish a schedule that enables each child to meet with their
   3                    assigned case manager at least once a week (i.e., every 7
   4                    calendar days) to discuss the status of their case and offer the
   5                    child an opportunity to provide information relevant to their case
   6                    or ask questions.
   7                iv. Within a week of placement at an EIS, children will be educated
   8                    on the process for reporting concerns about their case status
   9                    through the EIS’s pre-existing grievance process. Grievances on
  10                    case status will be reviewed by the Lead Case Manager or
  11                    supervisor of the assigned case manager. In accordance with
  12                    ORR Policy 4.10.1, the child must receive a written response to
  13                    their grievance regarding their case status within 5 days of
  14                    receipt. During the initial communication with a sponsor, the
  15                    sponsor will be educated on the process for reporting concerns
  16                    about the child’s case status and provided the contact
  17                    information for the child’s Lead Case Manager or supervisor.
  18                    The sponsor will be directed to file the grievance with the Lead
  19                    Case Manager or supervisor. Sponsors who use this process to
  20                    raise concerns about the child’s release status will receive a
  21                    response within 5 days of receipt.
  22                 v. Legal service providers can notify ORR of concerns regarding a
  23                    child’s release by emailing
  24                    UCLegalServicesSupport@acf.hhs.gov or contacting the Federal
  25                    Field Specialist and/or site lead. ORR will provide a response
  26                    within 5 business days to legal service providers who submit
  27                    notification to ORR that they represent a named child on
  28                    reunification/release.

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   1         B. Within 30 days of settlement, ORR shall modify its continuous monitoring of
   2            compliance to include the standards in this Agreement and to promptly cure
   3            any non-compliance with these standards.
   4         C. Within 30 days of settlement, ORR shall endeavor to reduce stays in EISs by:
   5                      i. Issuing guidance requiring that Category 4 and Category 3
   6                         children be transferred to a licensed placement as soon as there
   7                         is capacity, and contingent on any need to prioritize the
   8                         placement of particularly vulnerable children in licensed
   9                         facilities (see Section III), unless the child’s release is imminent
  10                         or the transfer would require separation of sibling groups.
  11                     ii. Issuing guidance requiring that at least once per week, ORR will
  12                         review the census of each EIS facility to identify children with a
  13                         length of stay longer than 20 days, ascertain why the child
  14                         remains at the EIS and follow up with the child’s case manager
  15                         to ensure the child is promptly released or transferred to a
  16                         licensed facility as expeditiously as possible.
  17   II.      LICENSED PLACEMENT
  18         A. Within 30 days of settlement, ORR shall issue written guidance specifying
  19            what categories of children referred from CBP should be prioritized for
  20            initial licensed placement and what categories of children at EIS facilities
  21            should be prioritized for transfer to a licensed facility, to include particularly
  22            vulnerable children and children likely to have extended lengths of stay.
  23         B. For as long as EIS and unlicensed ICF facilities (excluding Carrizo Springs)
  24            are in operation, ORR will regularly update Plaintiffs, the Special Master,
  25            and her Public Health Expert of the reasons that licensed beds to
  26            accommodate all class members remain unavailable, as well as ongoing
  27            efforts to address these issues. These updates may be provided through the
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   1          ORR Juvenile Coordinator’s Interim Report or through email
   2          communication.
   3       C. For as long as EIS and unlicensed ICF facilities (excluding Carrizo Springs)
   4          are in operation, ORR will regularly update Plaintiffs, the Special Master,
   5          and her Public Health Expert on changes in ORR’s licensed bed capacity.
   6          These updates may be provided through the ORR Juvenile Coordinator’s
   7          Interim Report or through email communication.
   8   III.   PARTICULARLY VULNERABLE CHILDREN
   9       A. ORR shall consider the following groups of children to be particularly
  10          vulnerable:
  11                    i. Children 12 years of age or younger (“tender age children”);
  12                   ii. Children who are not proficient in English or Spanish as
  13                        determined, in the first instance, by an assessment administered
  14                        by the child’s case manager. If an EIS primarily serves non-
  15                        Spanish speaking children, they will not be deemed particularly
  16                        vulnerable based on a lack of English or Spanish language
  17                        proficiency as long as the EIS provides services in the child’s
  18                        proficient language3;
  19                  iii. Children who have a known disability or other mental health or
  20                        medical issue requiring additional evaluation, treatment, or
  21                        monitoring by a healthcare provider4;
  22
  23   3
        Language proficiency is defined as a child’s ability to speak the language
  24   adequately to understand the developments of their case, communicate fully with
       medical and counseling staff, engage with other children, and fully participate in all
  25   educational, recreational, and social activities.
  26   4
         Whether or not a child has a disability or other mental health or medical issue
  27   requiring additional evaluation, treatment, or monitoring by a healthcare provider
  28   will be determined, in the first instance, by medical or mental health staff, including
       behavioral health professionals.

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   1                  iv. Pregnant or parenting teens;
   2                   v. Children who are at a documented enhanced risk due to their
   3                      identification as lesbian, gay, bisexual, transgender, questioning,
   4                      or intersex (LGBTQI). 5
   5       B. Within 30 days of settlement, ORR shall issue written guidance providing:
   6                   i. Tender age children shall not be placed at the ORR EIS at Fort
   7                      Bliss.
   8                   ii. Tender age children are generally ineligible for placement at the
   9                      Pecos EIS. However, tender age children may only be placed at
  10                      the Pecos EIS under the following limited circumstances:
  11                               a. No bed specified for that aged child is available in a
  12                                  licensed program and the only alternative option is to
  13                                  allow the child to remain in a CBP or ICE facility for
  14                                  an indeterminate period of time; or
  15                               b. Placement in a licensed program would require
  16                                  separating siblings or a parent-child pair.
  17       C. Within 30 days of settlement, ORR shall issue written guidance providing:
  18                   i. Particularly vulnerable children (except as provided for in
  19                      Section III.B. above) shall not be placed at the Fort Bliss EIS or
  20                      the Pecos EIS unless:
  21
  22   5
         Enhanced risk is defined as a documented increased threat of discrimination,
  23   harassment, or physical violence with the potential to endanger the safety, health, or
  24   well-being of the child. The assessment of enhanced risk will be based on self-
       report of perceived risk upon intake or any other time in ORR custody, a formal
  25   risk assessment survey within 72 hours of intake, the observations of ORR or
  26   contractor staff, or the judgment of medical or behavioral professionals engaged in
       the evaluation or care of the child. While a UC identifying as LGBTQI is not
  27   immediately categorized as a particularly vulnerable child as defined in Section
  28   III.A, the documented enhanced risk will place them in the particularly vulnerable
       child category and prioritize their transfer to a licensed facility.

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   1                                a. No bed is available for that child in a licensed
   2                                   program and the only alternative option is to allow
   3                                   the child to remain in a CBP or ICE facility for an
   4                                   indeterminate period of time; or
   5                                b. Placement in a licensed program would require
   6                                   separating siblings or a parent-child pair.
   7                  ii. The Parties recognize that, unless relevant information is
   8                      included in a child’s CBP referral, ORR may not be aware that a
   9                      child is a particularly vulnerable child prior to admission to
  10                      ORR care. ORR will screen children for the particular
  11                      vulnerabilities described in Section III.A within 5 days of EIS
  12                      placement 6 and shall continue to monitor children for particular
  13                      vulnerabilities thereafter.
  14                 iii. If a particularly vulnerable child is placed at the Fort Bliss EIS
  15                      or the Pecos EIS, the child shall be transferred to a licensed
  16                      program within 14 days of a determination that the child is a
  17                      particularly vulnerable child, unless the child’s release is
  18                      imminent, the transfer would require separation of sibling
  19                      groups, or no bed is available in a licensed program.
  20                                a. If no bed is available in a licensed program or a
  21                                   formerly licensed program that is no longer state
  22                                   licensed solely by reason of a state action
  23                                   discontinuing licensing of ORR care providers in
  24                                   that state, ORR will transfer the child to an ICF
  25                                   within 14 days of determining that the child is a
  26
  27   6
        If an EIS has been operating for less than 14 days, ORR will screen children for
  28   particular vulnerabilities as soon as possible and no later than 19 days after
       opening.

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   1                                    particularly vulnerable child, unless the child’s
   2                                    release is imminent, the transfer would require
   3                                    separation of sibling groups, or no bed is available
   4                                    in a licensed/formerly licensed program, an ICF, or
   5                                    any other EIS.
   6      D. In placing class members at licensed programs, ORR may prioritize other
   7         categories of particularly vulnerable children over children who are not
   8         proficient in English or Spanish, provided that such children who remain in
   9         EIS placement have access to consistent in-person translation services in
  10         their preferred language at the EIS that enables them to fully participate in
  11         services and activities.
  12      E. Reporting
  13                   i. If ORR must place tender age children at the Pecos EIS, ORR
  14                      will notify Plaintiffs’ counsel and the Independent Monitor at
  15                      least 72 hours prior to making such a placement.
  16                  ii. If ORR must place particularly vulnerable children at the Fort
  17                      Bliss EIS or the Pecos EIS, it will provide monthly reports
  18                      regarding those placements to Plaintiffs’ Counsel and the
  19                      Independent Monitor, including sufficient information to
  20                      calculate these children’s lengths of stay.
  21      F. If ORR opens a new EIS facility, ORR shall issue written guidance within 15
  22         days of opening a new facility, specifying whether specific categories of
  23         particularly vulnerable children are eligible for placement in that facility.
  24         ORR will inform Plaintiffs’ Counsel and the Independent Monitor of the
  25         placement policies of any new EIS and is open to future discussions
  26         regarding these placement policies. It is the Parties’ expectation that
  27         particularly vulnerable children will not be placed at any new EIS facility
  28         unless there is no other viable alternative to prolonged CBP custody and the

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   1         new facility develops specific safeguards and services to meet the needs of
   2         particularly vulnerable children.
   3   IV.   EIS STANDARDS
   4      A. In addition to meeting the requirements of ORR Field Guidance #13, every
   5         EIS shall:
   6                      i. Upon opening or expansion:
   7                          a.   Provide proper physical care and maintenance, including
   8                               suitable living accommodations.
   9                         b.    Initiate preparations such that children may have daily
  10                               access to the outdoors as soon as possible.
  11                          c.   Provide access to emergency mental health services, e.g.,
  12                               crisis intervention services, crisis stabilization services,
  13                               and emergency therapeutic interventions.
  14                  ii. Within 14 days of beginning operations or expansion, provide:
  15                          a.   Daily outdoor activity, with a preference for occurring
  16                               immediately upon opening but no later than 14 days of
  17                               beginning operations, weather permitting.
  18                         b.    Access to translation services in each child’s preferred
  19                               language, if the EIS accepts children who are not
  20                               proficient in English or Spanish.
  21                          c.   Access to private phone calls at least twice a week for at
  22                               least ten minutes in length.
  23                         d.    An intake assessment designed to identify particularly
  24                               vulnerable children as defined in Section III.A.
  25                 iii. Within 30 days of beginning operations or expansion, provide:
  26                          a.   Family reunification services designed to identify
  27                               relatives in the United States as well as in foreign
  28                               countries and assistance in obtaining legal guardianship

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   1                          when necessary for the release of the unaccompanied
   2                          child.
   3                     b.   Activities according to a recreation and leisure time plan
   4                          that include daily outdoor activity, weather permitting,
   5                          with at least one hour per day of large muscle activity and
   6                          one hour per day of structured leisure time activities (that
   7                          should not include time spent watching television). On
   8                          days when there are no educational services, there should
   9                          be at least four hours of structured activities per day.
  10                     c.   A comprehensive orientation regarding program intent,
  11                          services, rules (written and verbal), expectations, and the
  12                          availability of legal assistance.
  13                     d.   Appropriate mental health interventions when necessary
  14                          or to address mental health crisis.
  15                iv. Within 60 days of beginning operations or expansion, provide:
  16                     a.   Appropriate medical and emergency dental care, family
  17                          planning services, a modified individual health
  18                          assessment, administration of prescribed medication and
  19                          special diets, and appropriate mental health interventions
  20                          when necessary.
  21                     b.   Educational services.
  22                     c.   Legal services information, including the availability of
  23                          free legal assistance, the right to be represented by
  24                          counsel at no expense to the government, the right to a
  25                          removal hearing before an immigration judge, the right to
  26                          apply for asylum or to request voluntary departure in lieu
  27                          of deportation.
  28                 v. Within 90 days of beginning operations or expansion, provide:

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   1                       a.   An individualized needs assessment.
   2                      b.    At least five hours of structured activities per day, to
   3                            include educational services and recreational activities.
   4                       c.   At least one individual counseling session per week
   5                            conducted by trained staff.
   6                      d.    Group counseling sessions at least twice a week.
   7            B. Within 30 days of beginning operations or expansion, each EIS shall
   8               have a plan and timeline for providing the following services:
   9                  i. A complete medical examination (including screening for
  10                     infectious disease) within 48 hours of admission, excluding
  11                     weekends and holidays, unless the minor was recently examined
  12                     at another ORR facility; and appropriate immunizations in
  13                     accordance with the HHS’ Centers for Disease Control and
  14                     Prevention.
  15                 ii. Acculturation and adaptation services, which include
  16                     information regarding the development of social and
  17                     interpersonal skills which contribute to those abilities necessary
  18                     to live independently and responsibly.
  19                 iii. Educational services appropriate to the child’s level of
  20                     development and communication skills in a structured classroom
  21                     setting, which concentrates primarily on the development of
  22                     basic academic competencies, and secondarily on English
  23                     Language Training.
  24                 iv. Access to religious services of the child’s choice.
  25                  v. Facilitate visitation and contact with family members (regardless
  26                     of their immigration status). The staff shall respect the child’s
  27                     privacy while reasonably preventing the unauthorized release of
  28                     the UC.

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   1                 vi. A reasonable right to privacy, which includes the right to wear
   2                     his or her own clothes when available, retain a private space for
   3                     the storage of personal belongings, visit privately with guests, as
   4                     permitted by the rules and regulations, receive and send
   5                     uncensored mail unless there is a reasonable belief that the mail
   6                     contains contraband.
   7            C. No later than 60 days of the Effective Date of this Settlement, all
   8               currently operating EISs must meet the requirements of Field
   9               Guidance #13 and Sections IV.A and IV.B of this Settlement
  10               Agreement.
  11   V.    MONITORING
  12            A. Each month, for as long as any EIS remains in operation, ORR will
  13               provide Plaintiffs and the Independent Monitor a data report for each
  14               EIS that includes:
  15                        i.   Census: Snapshot of each child detained in the EIS,
  16                             including the child’s full name, A#, DOB, category of the
  17                             current primary sponsor, date of ORR placement, and date
  18                             admitted at the EIS;
  19                       ii.   Transfers: List of each child transferred from the EIS to
  20                             another ORR placement, including the child’s full name,
  21                             A#, DOB, category of the current primary sponsor, date
  22                             of ORR placement, date admitted at the EIS, transfer
  23                             program name and program type;
  24                      iii.   Discharges: List of each child discharged from the EIS,
  25                             including the child’s full name, A#, DOB, date of ORR
  26                             placement, date admitted at the EIS, discharge type, and
  27                             category of sponsor.
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   1                      iv.   The EIS’s capacity as defined by its current operating
   2                            contract.
   3   VI.   TERMINATION AND ENFORCEMENT
   4            A. This Agreement shall terminate two years from its Effective Date, or
   5               upon the termination of the Flores Settlement Agreement, whichever
   6               is sooner.
   7            B. If Plaintiffs’ Counsel believe that ORR has breached this Agreement,
   8               Plaintiffs’ Counsel shall, within thirty (30) days of learning of the
   9               event giving rise to the belief, provide ORR (through Defendants’
  10               counsel) with written notice of the specific facts that they believe
  11               constitute a breach of the Agreement. Plaintiffs may not submit any
  12               notice of breach more than one-year after the event that forms the basis
  13               for the allegation of breach.
  14            C. When presenting an allegation of breach to ORR, Plaintiffs’ Counsel
  15               shall make their best efforts to indicate the time, date, location, and the
  16               specific factual circumstances forming the basis for the alleged breach
  17               and to identify the names and A numbers (or other equivalent
  18               identifying information) of any class members whose declarations or
  19               statements would be used as evidence of breach if these claims are
  20               brought to the Court for resolution.
  21            D. ORR shall have twenty-one (21) days to respond to the allegations,
  22               and shall provide their written response to Plaintiffs’ Counsel. After
  23               ORR provides a response, the Parties will meet and confer within
  24               seven (7) days in an effort to resolve the allegations. The Parties may,
  25               upon mutual consent, request that a mediator be appointed by the
  26               Court to oversee these discussions. If the Parties cannot resolve the
  27               allegations, Plaintiffs’ Counsel may, in accordance with the Local
  28               Rules for the Central District of California and the Federal Rules of

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   1               Civil Procedure, submit their allegation(s) of breach to the Court for
   2               resolution. Class Counsel must provide the Court with the specific
   3               reasons that they believe Defendant is in breach of the Agreement.
   4            E. If Plaintiffs believe that class members are suffering or will suffer
   5               immediate and substantial irreparable harm as a result of a breach of
   6               the Agreement then Plaintiffs may file an application for a Temporary
   7               Restraining Order under the applicable law, standards, and Local Rules
   8               of the Central District of California. Defendants may raise any
   9               available defenses to such filing, including that expedited treatment is
  10               not warranted, and that Plaintiffs should be required to bring their
  11               allegations to ORR for resolution in accordance with Paragraph VI.D.
  12               above.
  13
  14
  15   Dated: June 21, 2020            CENTER FOR HUMAN RIGHTS AND
  16                                   CONSTITUTIONAL LAW
                                       Carlos R. Holguín
  17
  18                                   NATIONAL CENTER FOR YOUTH LAW
                                       Neha Desai
  19                                   Mishan Wroe
  20                                   Melissa Adamson
                                       Diane de Gramont
  21
  22                                   CHILDREN’S RIGHTS
                                       Leecia Welch
  23
  24                                    /s/
  25                                   Carlos R. Holguín
                                       One of the Attorneys for Plaintiffs
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  27
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                                 #:46864

       Dated:                       BRIAN BOYNTON
   1
                                    Acting Assistant Attorney General
   2                                Civil Division
   3
                                    WILLIAM C. PEACHEY
   4                                Director, District Court Section
                                    Office of Immigration Litigation
   5
   6                                WILLIAM C. SILVIS
                                    Assistant Director, District Court Section
   7
                                    Office of Immigration Litigation
   8                                                 Digitally signed by
                                       SARAH         SARAH FABIAN
   9                                   FABIAN        Date: 2022.06.15
                                    /s/              15:55:53 -04'00'


  10                                SARAH B. FABIAN
  11                                Senior Litigation Counsel
                                    FIZZA BATOOL
  12                                Trial Attorney
  13                                Office of Immigration Litigation
                                    District Court Section
  14                                P.O. Box 868, Ben Franklin Station
  15                                Washington, D.C. 20044
                                    Tel: (202) 532-4824
  16                                Fax: (202) 305-7000
  17                                Email: sarah.b.fabian@usdoj.gov

  18                                Attorneys for Defendants
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